                                                   Reset Form
4cca-30      REV. 04/09/06         T R A N S M I T T A L S H E E T
                                     (Notice of Appellate Action)
      Notice of Filing                UNITED STATES DISTRICT COURT          District Court No.:
      Cross Appeal                                  for the
      Interlocutory Appeal             EASTERN DISTRICT OF NORTH CAROLINA   7:98-cr-79-1-F
      Additional NOA                  at Wilmington
      Amended NOA                     Caption:                              4CCA No.: 07-6220
      Transmittal of Record
      Transmittal of Certif.           USA                                  Consolidated with No.:
      Supplement to ROA
      Supplemental Certif.            vs.                                   Case Manager:
      Other
                                      TRUMAN SCOTT                          Gena Krawcheck
 Part I
 Notice of appeal is enclosed to all parties (except to appellant in civil cases); NOA,
 docket entries, district court opinion and order, and magistrate judge’s recommendation (if
 applicable) are enclosed to 4CCA.

 1.   NOA filed:   2/8/2007           4.    Fees
                                                                          USA no fee required

                                      $5 filing fee:                      paid               unpaid

                                      $450 docket fee:                    paid               unpaid
 2.   Amended NOA filed:
                                      Pauper status:            granted     denied        pending in dist.ct.

                                      Does PLRA Apply?     Yes     No   3-strikes? ___Yes ___No
                                      [If PLRA applies, 4CCA sends forms & acts on application]

 3.   District Judge:                 5.    Materials Under Seal in District Court:                    Yes   No

      James C. Fox                          Party Names Under Seal in District Court: ___Yes ___No

 6.   Official Ct. Reporter(s):       7.    Transcript


      Jo B. Bush (retired)                  In-Court Hearing Held:               Yes      No

 Contract Court Reporter:
                                      8.    Criminal/Prisoner Cases

                                              recalcitrant witness           Defendant’s Address:
 Coordinator:                                 on death row                   #14337-056
                                              in custody                     U. S. Penteentiary
      Becky Bowen                             on bond
                                              on probation
                                                                             P. O. box 7000
                                                                             Florence, CO 81226-7000

 Part II                       TRANSMITTAL OF RECORD TO COURT OF APPEALS

 ORIGINAL RECORD                                         SUPPLEMENT TO RECORD - SUPPLEMENT # 1

 Pleadings: Vols. Electronic                             Pleadings: Vols.

 Transcript: Vols.                                       Transcript: Vols. 1,2,3,4,5,6,7,8

 Exhibits: Vols.                                         Exhibits: Vols.

 Depositions: Vols.                                      Depositions: Vols.

 State Ct. Record: Vols.                                 State Ct. Record: Vols.

 Sealed: Vols.                                           Sealed: Vols.

 No. of Boxes:                                           No. of Boxes:


Deputy Clerk: Liz Eggleston                   Phone: 910-815-4663                      Date: 6/11/07

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